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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 535 JU[_ 22 5 H 31 25
WESTERN DIVISION '

 

 

UNlTED STATES OF AMERICA,

Plaintiff,
VS. CR. NO. 04-20159
LAKEITH HAMPTON

Defcndant.

 

ORDER GRANTING MOTION TO CONTINUE CHANGE OF PLEA

 

This cause came on upon thc motion of the Dcfcndant to continue the change of plea hearing

Sct on July 21 , 2005 at 10:00 a.rn. For good cause shown, the Court hereby grants the Defendant’S

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IT IS SO ORDERED this 20 day of]uly, 2005.

 

 

. D NIEL BREEN
UN ED STATES DISTRICT .IUDGE

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Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

